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15                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
16                                  SAN FRANCISCO DIVISION
17

18       SARAH ANDERSEN, et al.,
                                                               Case No. 3:23-cv-00201-WHO
19                Individual and Representative Plaintiﬀs,
                                                               NOTICE OF APPEARANCE OF EVAN
                                                               CREUTZ
20               v.

21       STABILITY AI, LTD., et al.,

22                                               Defendants.

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 1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 2          Please take notice that Evan Creutz of Joseph Saveri Law Firm, LLP hereby appears as counsel

 3   of record for Plaintiffs in this action. Mr. Creutz is registered with the Court’s CM/ECF system and

 4   may be served notice through that system. Mr. Creutz’s contact information is as follows:

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10   Dated: August 5, 2024                          Respectfully Submitted,
11                                                  By:              /s/ Joseph R. Saveri
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